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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 JANE DOE 1, JANE DOE 2, JANE DOE 3, JANE DOE
 4, JANE DOE 5, JANE DOE 6, JANE DOE 7, JANE
 DOE 8, JANE DOE 9, JANE DOE 10, JANE DOE 11                    COMPLAINT AND DEMAND
 and JANE DOE 12,                                                  FOR JURY TRIAL

                               Plaintiffs,                      Case No.:

                 v.

 UNITED STATES OF AMERICA,

                               Defendant.



                      COMPLAINT AND DEMAND FOR JURY TRIAL


       Plaintiffs, Jane Doe 1, Jane Doe 2, Jane Doe 3, Jane Doe 4, Jane Doe 5, Jane Doe 6, Jane

Doe 7, Jane Doe 8, Jane Doe 9, Jane Doe 10, Jane Doe 11 and Jane Doe 12 bring this action against

Defendant United States of America and allege, upon information and belief:


                                 NATURE OF THE ACTION


       1.       For over two decades, the Federal Bureau of Investigation (hereinafter “FBI”)

permitted Jeffrey Epstein to sex traffic and sexually abuse scores of children and young women

by failing to do the job the American people expected of it and that the FBI’s own rules and

regulations required: investigate the reports, tips, and evidence it had of rampant sexual abuse and

sex trafficking by Epstein and protect the young women and children who fell victim to him.




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       2.       As a result of the continued failures of the FBI, Jane Does 1-12 bring this lawsuit

to get to the bottom-once and for all- of the FBI’s role in Epstein’s criminal sex trafficking ring.

       3.       Recently, on December 5, 2023, FBI Director Christopher Wray testified before the

Senate Judiciary Committee and was questioned about the FBI’s role in permitting Jeffrey Epstein

and others to operate a vast criminal conspiracy and sex trafficking ring for years.

       4.       United States Senator Marsha Blackburn expressed concerns to Wray of the “the

FBI’s failure to investigate sex trafficking allegations.” Senator Blackburn asked specifically what

was done by the FBI to investigate the claims that Epstein and others participated and distributed

child sex abuse content and other allegations. Wray responded, “it’s been a while” and he would

“get with my team and see if there is more information we can provide.”

       5.       Senator Blackburn told FBI Director Wray "we have these survivors who say 'Oh,

there is so much more, and they swept it under the rug,' and that is wrong, and you need to right

that wrong.”

       6.       While Senator Blackburn told Director Wray that he would “need to right that

wrong,” Director Wray and the FBI have done nothing to “right that wrong.” The FBI has again

turned its back on survivor-victims of Jeffrey Epstein’s sex trafficking ring.

       7.       In fact, when plaintiffs Jane Does 1-12 filed their Standard Form 95 pursuant to

U.S.C 28 C.F.R. 14.2 against the United States of America as a condition precedent to filing this

lawsuit, the FBI has neither attempted to “right that wrong” nor has the FBI provided any timeline

as to when it will “right that wrong.”

       8.       Since plaintiffs Jane Does 1-12 filed their Standard Form 95 in May of 2023, the

FBI has had more than eight months to “right that wrong” to the survivors of Jeffrey Epstein’s sex

trafficking ring and has not made any effort to do so.



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       9.       Since the 1990s, the FBI has received and been aware of reports of sex crimes, rape,

abuse and sex trafficking perpetrated against young women and children by Epstein and associates

occurring in New York, Florida, the U.S. Virgin Islands and elsewhere. The full extent of the

reports and tips are unknown as the FBI files for Epstein are still largely sealed. Recently, on

January 10, 2024, Senator Blackburn called for the unredacted release of FBI documents and

stated: “It’s time to uncover this information…” Jane Does 1-12 agree.

       10.      By way of example only, in August of 1996, Maria Farmer reported to the FBI that

Jeffrey Epstein and Ghislaine Maxwell had sexually abused her and that they, together with others,

were committing multiple illegal sexual abuse crimes, including crimes against minors and

vulnerable young women. The FBI hung up on Maria Farmer and did nothing in response. The

failure to comply with FBI guidelines resulted in the ongoing sexual abuse of Jane Does 1-12.

       11.      Jeffrey Epstein’s penchant for teenage girls was an open secret in the high society

of Palm Beach, Florida and the Upper East Side of Manhattan which was disregarded by the FBI.

Epstein orchestrated an illegal sex trafficking ring for the elite and the FBI failed to adequately

investigate the abuse, failed to interview the victims, failed to investigate the crimes and did not

follow routine procedure or offer victim assistance notwithstanding credible reports and tips. The

FBI sat back while Epstein and his co-conspirators sexually abused Jane Does 1-12.

       12.      Between 1996 and 2006, the FBI continued to receive reports, complaints and tips

concerning the illegal sex trafficking of women and underage minors, sex abuse and human rights

violations committed by Jeffrey Epstein and associates. In March of 2005, the FBI was alerted by

the Palm Beach Police Department of child prostitution. In fact, there was a 14-year-old girl who

was solicited to Epstein’s mansion for sex.




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       13.     The FBI did not open an investigation until July 24, 2006 according to the FBI vault

documents. The gross negligence committed by the FBI resulted in the continued sexual abuse of

Jane Does 1-12 at the hands of Jeffrey Epstein. Even once the case was opened on July 24, 2006,

there were negligent delays in the investigation, indictment, and in the arrest of Epstein. The FBI

investigation was closed on September 18, 2008 according to records in the FBI vault.

       14.     The FBI failed to comply with FBI protocols and missed reports of bank

involvement and government elites as co-conspirators. It was not until the recent case, U.S. Virgin

Islands v. JP Morgan Chase Bank NA, U.S. District Court, S.D.N.Y, No. 22-10904 where it was

discovered that JP Morgan Chase & Co. (“JP Morgan Chase”) reached out to the federal

government on numerous occasions between 2006 to 2008 and via numerous avenues regarding

Epstein’s transactions with the bank and concern for child prostitution.

       15.     During the FBI investigation, the FBI was complicit in permitting Epstein and co-

conspirators to continue to victimize Jane Does 1-12 and other young women. The FBI had

photographs, videos and interviews and hard evidence of child prostitution and failed to timely

investigate and arrest Epstein in deviation from the FBI protocols. Recently, in the litigation

between an Epstein victim and JP Morgan Chase, it emerged that the Epstein estate had

encountered a trove of pornographic content, some of which might contain sexual abuse material

(CSAM). It remains to be seen whether the federal authorities reviewed the materials or what was

in fact done with the material.

       16.     Epstein flew from Newark to the U.S Virgin Islands to judge a beauty pageant in

2007 during the FBI investigation. The FBI allowed Epstein to travel knowing that he was having

sex with children, trafficking children and may have been in possession of child erotica. Epstein

continued to fly between New York, Florida, the U.S. Virgin Islands and elsewhere during an open



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FBI investigation of a sex trafficking ring. Jane Does 1-12 continued to be sexually abused, raped

and tormented as a result.

       17.     The FBI and the United States Attorney’s Office was grossly negligent in

investigating and prosecuting Epstein between 2005 and 2008 and continuing thereafter.

       18.     In September of 2008, Epstein reached a suspicious deal with the United States

government where Epstein only pleaded guilty to solicitation of a minor in exchange for non-

prosecution. Epstein served 13 months in jail, during which time he was allowed to leave for work

release during the day. He continued to sexually abuse victims during his work release in close

proximity to those who were supposed to be monitoring him.

       19.     The Department of Justice later examined the actions of the United States

Attorney’s Office and concluded that the victims were not treated with the forthrightness and

sensitivity expected by the Department. The Office of Professional Responsibility also concluded

that the former U.S. Attorney exercised poor judgment by deciding to resolve the federal

investigation through the non-prosecution agreement.

       20.     After Epstein’s 2008 unusual plea deal, more reports, tips and complaints were

received by the FBI concerning sex with teenagers, minors, sex trafficking and abuse. The FBI

was aware of Epstein’s sex trafficking ring between New York, Palm Beach, New Mexico, Paris

and the U.S. Virgin Islands which continued after Epstein was a registered sex offender.

       21.     It was not until 11 years later, Epstein was arrested on July 6, 2019 and charged

with sex trafficking of minors and conspiracy. Epstein died in jail before the case could be

prosecuted for these heinous crimes.

       22.     The FBI had a non-discretionary obligation, governed by established policies,

procedures, rules, and protocols, to handle and investigate tips concerning potential and ongoing



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underage child erotica, rape, sex with minors, and sex trafficking in a reasonable manner and to

act against Epstein and to prevent him from committing repeated crimes. Yet, contrary to its own

established rules, the FBI failed to take appropriate action and botched and covered up

investigations for years. If the FBI had complied with its mandatory obligations to investigate and

intervene, Epstein would not have been able to continue to commit heinous crimes and sexually

abuse and traffic Jane Does 1-12. The FBI’s repeated and continued failures, delays and inaction

allowed Epstein and others to continue their sex trafficking conspiracy for almost 25 years.

       23.     The FBI made fundamental errors when it did not respond to the allegations, failed

to notify the appropriate FBI field office or state or local authorities of the allegations, and failed

to take other steps to mitigate the ongoing threat posed by Epstein and associates. The inaction of

the FBI and their omissions, having been alerted by victims and other law enforcement agencies

of Jeffrey Epstein’s abuse, failed to pursue, delayed, and overall allowed his abuse and trafficking

to continue for over twenty years.


                        JURISDICTION, VENUE, AND TIMELINESS


       24.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. Jane Doe

1, Jane Doe 2, Jane Doe 3, Jane Doe 4, Jane Doe 5, Jane Doe 6, Jane Doe 7, Jane Doe 8, Jane Doe

9, Jane Doe 10, Jane Doe 11 and Jane Doe 12 proceed herein under the Federal Tort Claims Act.

       25.     This action in part arises under the Federal Tort Claims Act. This Court is vested

with jurisdiction pursuant to 28 U.S.C. 1346(b). Jurisdiction is appropriate in this Court insofar as

a Federal Question is presented under the Federal Tort Claims Act.

       26.     If the defendant United States of America were a private individual, based on the

facts alleged herein, it would be liable to the plaintiffs Jane Does 1-12 in accordance with the laws

of the State of New York.

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       27.      The claims set forth herein were presented to the FBI by mailing a Standard Form

95 on behalf of Jane Does 1-12, on May 23, 2023 as required by 28 C.F.R 14.2. In response, the

FBI acknowledged receipt of the claims on May 25, 2023 and advised that the matter was pending,

however, after more than six months have elapsed, the FBI remains unwilling to attempt to resolve

these claims.

       28.      All conditions precedent to Plaintiffs’ filing this action have been satisfied.

Specifically, each Plaintiff served proper notice on Defendant, and more than six months has

elapsed with neither denial, nor resolution from Defendant.

       29.      As stated in 42 U.S.C. 233(g)(1)(A), at all times herein mentioned, the Federal Tort

Claims Act is the exclusive remedy for injuries caused by all agents, servants and/or employees of

the FBI.

       30.      This Court also has supplemental jurisdiction of the state law claims recounted

below pursuant to 28 U.S.C. § 1367(a), because all claims alleged herein are part of a uniform

pattern and practice and form part of the same case or controversy.

       31.      Venue is proper in the United States District Court of the Southern District of New

York, pursuant to 28 USC 1391(b)(2), because substantial activities occurred in this District

including, but not limited to, the following:

                a.     Epstein’s sex-trafficking operation, sex with underage minors and sexual

                abuse was based, managed and operated out this District;

                b.     Financial and non-financial transactions of Epstein’s sex trafficking

                operation originated in this District;

                c.     The sexual abuse, committed by Epstein took place in Jeffrey Epstein's New

                York mansion, located within this District at 9 East 71st Street, New York City



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              (among other locations). Epstein used his New York mansion to harbor his victims

              and as a base from which to transport them to other locations outside of New York

              which was reported to the FBI;

              d.      The transportation for the Epstein sex-trafficking ring was owned, stored,

              and maintained in New York State. In particular, Epstein’s private jets and vehicles

              which were used to transport victims and Epstein’s clients, or purchased, owned,

              stored, and were maintained in New York;

              e.      At the time of the events at issue, several of the Jane Does resided in this

              District;

              f.      Reports of sex crimes were made to the FBI in this District;

              g.      All causes of action arose from 1996 and continued until 2019.

       32.    This action has been timely filed pursuant to Federal Tort Claims Act, 28 U.S.C.

§§ 1346 and 2671-80 and the discovery rule. The information regarding Defendant’s culpability—

which is the predicate for Plaintiff’s timely claims against Defendant—has only been partially

revealed to the public. Such revelations occurred after years of Defendant’s willful suppression

and concealment of the same. Plaintiffs only became aware of Defendant’s negligence, their

injuries, and the cause of their injuries after the case against J.P. Morgan Chase & Co., recent

congressional hearings and document dumps, and other recent media announcements.


                                           PARTIES


       33.    Jane Doe 1 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       34.    Jane Doe 2 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

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       35.     Jane Doe 3 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       36.     Jane Doe 4 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       37.     Jane Doe 5 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       38.     Jane Doe 6 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of Florida.

       39.     Jane Doe 7 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       40.     Jane Doe 8 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of California.

       41.     Jane Doe 9 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       42.     Jane Doe 10 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       43.     Jane Doe 11 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of Florida.

       44.     Jane Doe 12 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York.

       45.     Jane Doe 13 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York who filed an SF95 and will come into

litigation once the six-month time period elapses.



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        46.     Jane Doe 14 is a U.S. citizen and was, at all relevant times, a resident of and

domiciled and sexually abused in the State of New York who filed an SF 95 and will come into

litigation once the six-month time period elapses.

        47.     The Jane Doe Plaintiffs are using pseudonyms to protect their identities because of

the sensitive and highly personal nature of this matter, which involves sexual assault.

        48.     The Jane Doe Plaintiffs are also at serious risk of retaliatory harm because the co-

conspirators who participated in the Epstein sex-trafficking venture had—and continue to

possess—tremendous wealth and power and have demonstrated a clear ability to cause serious

harm.

        49.     The Jane Doe Plaintiffs’ safety, right to privacy, and security outweigh the public

interest in their identification.

        50.     The Jane Doe Plaintiffs' legitimate concerns outweigh any prejudice to Defendant

by allowing them to proceed anonymously.

        51.     Some of the Jane Doe plaintiffs were afforded similar protections in other lawsuits,

and anonymity has been ordered in other child sex trafficking cases involving Epstein. See e.g:

Jane Doe v. Government of the United States Virgin Islands, 23-cv-10301 [SDNY]; Jane Doe v.

JP Morgan Chase Bank, N.A. 22-cv-10019 [SDNY].

        52.     The United States of America is a defendant in this action pursuant to the Federal

Tort Claims Act, 28 U.S.C § 1346 and 2671-80 et. seq. The liability of the United States arises

from the acts and/or omissions of employees and agents of the Federal Bureau of Investigation, an

agency of the defendant.

        53.     At all times mentioned, the defendant United States of America controlled, funded,

managed, operated and/or owned the FBI.



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       54.     At all times mentioned, the FBI was funded by the defendant United States of

America and was acting within its mandate and authority.

       55.     It was the duty of the defendant United States of America and/or FBI specifically

to follow up and investigate reports of sex crimes and child sex trafficking claims and to prevent

the crimes from occurring and preventing the plaintiffs from being repeatedly sexually abused.

       56.     The Federal Bureau of Investigation is a federal law enforcement agency

empowered by the United States Congress to enforce and investigate certain alleged violations of

the United States Criminal Code. The FBI is part of the United States Department of Justice

(“Department of Justice”) and formally subject to oversight and direction by the Attorney General,

an employee of the United States of America.

       57.     Agents, servants and employees of the FBI are agents, servants and employees of

the defendant United States of America.


                                              FACTS


   A. The FBI was notified of child prostitution and sex abuse as early as 1996 and did nothing

       in response.

       58.     The FBI was aware of the Epstein and co-conspirators luring of young women and

sex with underage girls in 1996 and continuing until 2019.

       59.     The FBI was even aware of Mr. Epstein in 1993 when he and two other defendants

were charged in federal court with three counts of postal larceny and theft and one count of

property theft. Epstein pleaded guilty to a single charge of conspiring to steal U.S. Treasury checks

from residential mailboxes and received 5 years’ probation.




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       60.     In 1996, Maria Farmer reported to the New York Police Department and FBI that

Jeffrey Epstein and Ghislaine Maxwell had sexually abused her and her sister Annie and that they,

together with others, were committing multiple illegal sexual abuse crimes, including crimes

against minors and vulnerable young women. In response to the call by Maria Farmer, the FBI

“hung up” on her and did nothing to investigate the report. Mr. Epstein was still on probation for

pleading guilty to a federal crime.

   B. The FBI was aware of Epstein’s repeated child prostitution and sex abuse and failed to

       investigate

       61.     Between 1996 and 2005, the FBI continued to receive direct reports, complaints

and tips concerning the illegal sex trafficking of women and underage minors, sex abuse and

human rights violations committed by Jeffrey Epstein and associates. In response, the FBI failed

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to act upon and investigate the complaints and tips and failed to comply with protocol and

guidelines notwithstanding credible reports of solicitation of child prostitution and sex trafficking.

       62.     In 2002, secret service clearance was given for travel on Epstein’s private Boeing

727 to Africa. Epstein would have been on the FBI’s radar and should have been cleared by the

federal government.

       63.     Jeffrey Epstein’s name and suspicious travels were published in magazines. On

October 28, 2002, a New York magazine article was published and distributed. The article entitled

“Jeffrey Epstein: International Moneyman of Mystery” by Landon Thomas Jr., noted that “[h]e

comes with cash to burn, a fleet of airplanes and a keen eye for the ladies.” Further, “[i]t’s a life

full of question marks, Epstein is said to run $15 billion for wealthy clients, yet aside from Limited

founder Leslie Wexner, his client list is a closely held secret.” “Epstein is frequently seen around

town with a bevy of comely young women.”              The article discussed Epstein’s travels and

connections with high profile men and “he has a trip to Brazil coming up in the next few weeks

and on all of these trips, he flies alone in his commercial jet size 727.”

       64.     The FBI was aware that Epstein did not fly alone. In November of 2002, a sex

abuse survivor was issued a Visa to Brazil to travel with Epstein on his jet. Scores of girls were

issued Visas for travel on his private jet and the FBI did nothing to investigate these red flags.

       65.     Epstein’s office initiated a passport on behalf of a sex abuse survivor represented

by this firm to travel to Paris, France with Epstein and associates. The issuance of the passports

and visas would have required a background check, which was not conducted pursuant to the usual

channels. In fact, recently it was disclosed to the public that Epstein’s office initiated passports

and visas for other women and underage girls for the purpose of sex trafficking them. The FBI

failed to investigate the red flags and failed to conduct appropriate background tracks.



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       66.     Epstein frequently requested new passports, reported lost passports and would use

multiple passports for traveling. Of late, it was discovered that the FBI seized Epstein’s passports

and he would use different addresses and names on the passports. The FBI was aware of Epstein’s

passport fraud and failed to do anything in response. Had the FBI done its job, it would have been

discovered that Epstein was operating a child sex trafficking ring.

       67.     Recently, on January 3, 2024, Senator Blackburn reiterated the FBI’s failure to

investigate flight logs and sent a letter to the Judiciary Committee Chairman Dick Durbin urging

the release of names of people who flew on Epstein's plane and who potentially participated in his

international sex trafficking ring.

   C. In March 2005, the FBI again had evidence of child prostitution and sex trafficking and

       did nothing

       68.     In March 2005, a woman contacted Florida’s Palm Beach Police Department to

report that a 14-year-old girl was recruited to Epstein’s mansion for a sexual massage in exchange

for money.

       69.     The Palm Beach Police Department alerted the FBI of child prostitution, however

the FBI did not open a case until July 24, 2006.




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       70.    The file number assigned was 31E-MM-108062-1A98. The date “received” on

another FBI document indicates “various.”




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       71.    A search warrant was executed to raid the mansion of Epstein by the Florida Palm

Beach County Police Department in 2005, before the FBI case was opened. During the search,

messages were handed over to the FBI. The “important message” sheets were appointments for

massages with minors and young women.

       72.    As referenced by investigative journalist Julie Brown in ‘”Perversion of Justice,”

“[d]uring the 2005 to 2006 police investigation, police found phone messages…one of them in

which… it was hinted that he had twelve-year-old twins to send him.”




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        73.      When the FBI seized the messages, the FBI failed to interview the potential victims

and did not contact all the victims even though the FBI had their names and telephone numbers.

Sex abuse victims were never contacted by the FBI despite cell phone numbers listed on the seized

“important messages” in violation of FBI protocols.

        74.      The FBI was notified that victims were threatened by billionaire Epstein if they

spoke to authorities during the 2006 to 2008 investigation, yet the FBI did nothing to assist the

victims. Epstein said things like “You’re going to die; I’m going to break your legs.” The FBI’s

incompetence and negligence perpetuated the continued sex abuse of Jane Does 1-12 and

trafficking of teenagers and young women in his New York townhouse, Palm Beach mansion, his

private island in the U.S. Virgin Islands and elsewhere.

        75.      During the Palm Beach Police Department investigation police documents included

interviews with: (1) a Palm Beach Community College student who said she gave Epstein a

massage in the nude, then brought him six girls aged 14 -16 years old for massage and sex tinged

sessions at his home; (2) a 27-year-old women who worked as Epstein’s personal assistant also

facilitated the liaisons, phoning the Palm Beach Community College student to arrange for girls

when Epstein was coming to town, and escorted the girls upstairs when they arrived, putting fresh

sheets on a massage table and placed massage oils nearby; and (3) sworn statements from five

alleged victims and seventeen witnesses who stated that, on three occasions, Epstein had sex with

the girls.

        76.      Further, the Palm Beach Police Department investigation revealed that Haley

Robson met Epstein at the age of 16. Robson brought six girls to Epstein and one of them was the

14-year-old girl who started the investigation by the Palm Beach Police Department.




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        77.     The Palm Beach Police Department investigation was provided to the FBI, and the

FBI was grossly negligent in timely arresting Epstein. The FBI delayed, procrastinated and waited

three years to arrest Epstein for child prostitution all the while Epstein’s sex trafficking operation

continued to operate as underage girls and young women were sexually abused such as the

Plaintiffs herein.

        78.     Numerous reports and tips were received by the FBI, however these reports were

concealed from the public. It was not until the recent case, U.S. Virgin Islands v. JP Morgan

Chase Bank NA, U.S. District Court, S.D.N.Y, No. 22-10904 where it was discovered that JP

Morgan Chase contacted the federal government on numerous occasions between 2006-2008 and

via numerous vehicles regarding Epstein’s suspicious transactions with the bank.

        79.     In August 2007, the United States Attorney’s Office for the Southern District of

Florida issued a subpoena to Bear Stearns regarding transactions out of Epstein’s accounts in the

amounts of either $1,000 or $100,000. On September 6, 2007, the U.S. Attorney’s Office for the

Southern District of Florida followed upon on the subpoena it had issued to Bear Stears demanding

to receive a list of accounts at other financial institutions that Bear Stearns has either transferred

money or received money from on behalf of Mr. Epstein.

        80.     The FBI was on notice of the banking relationships of Jeffery Epstein and instead

of obtaining information through the Financial Crimes Enforcement Network and the Federal

Reserve System which handles the wiring of funds between banks, the federal prosecutor inquired

with a private bank.

        81.     The FBI was notified that JP Morgan Chase handled more than $1.1 million in

payments from Epstein to girls or women, many with Eastern European surnames and failed to

investigate and instead the reports were concealed. The FBI was aware of the hard cash flowing



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out of Epstein’s accounts in transactions related to human trafficking yet concealed the reports and

did not investigate the crimes until the recent lawsuit filed by the U.S. Virgin Islands against JP

Morgan Chase.

       82.     The FBI delayed their investigation and failed to timely arrest Epstein despite

credible evidence of a child sex traffic ring and prostitution. Epstein continued to sexually abuse

Jane Does 1-12 along with other girls and young women during the FBI investigation.        The FBI

was aware of evidence of child trafficking. Epstein’s predatory habits stretched back many years

and involved dozens of young-looking girls which the FBI ignored.

       83.     The FBI vault records document that the investigation was closed on September 18,

2008. “Epstein was being prosecuted by the State of Florida and complying with the conditions

of his plea and would provide information to the FBI as agreed upon. Case agent advised that no

federal prosecution will occur in this matter as long as Epstein continues to uphold his agreement

with the State of Florida.”

       84.     The FBI vault records document that on October 7, 2008, Epstein negotiated a Non-

Prosecution Agreement with the United States of America and the victims were to be notified of

the terms of the agreement. The victims were not notified of the terms of the agreement and this

prompted an investigation by the Department of Justice.

       85.     Epstein served 13 months in jail, during which time he was allowed to leave for

work release during the day where he was driven by his limo driver to an office each day.

       86.     Palm Beach Police Chief Michael Reiter was so angry with the State Attorney’s

handling of the Epstein case that he wrote a memo suggesting the county’s top prosecutor

disqualify himself. “I must urge you to examine the unusual course that your office’s handling of




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this matter has taken and consider good and sufficient reason exists to require your disqualification

from the prosecution of these cases.”




       87.     Epstein was able to continue his sexual assaults of underage girls after his release

from jail in July 2009 until he was arrested on federal charges of sex trafficking of minors on July

8, 2019. From 2009 until 2019, the FBI was complicit in permitting the ongoing sex trafficking

of minors, rape and sexual abuse of girls and young women which occurred between New York,

Palm Beach and the U.S. Virgin Islands, and many other locations.

       88.     On July 6, 2019, Epstein was arrested for sex trafficking of children and conspiracy.

Epstein died in jail on August 10, 2019 from an apparent suicide before the case could be

prosecuted for these heinous crimes.

   D. The FBI violated its duty to the plaintiffs and departed from FBI Protocol

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       89.       The FBI violated its duty to the plaintiffs and failed to comply with its own mission

to “protect the American people and uphold the Constitution of the United States” from 1996

through 2019.

       90.       The FBI instructs the public to report information about crimes. For example, on

the “Contact Us” page of the FBI’s website, the FBI instructs concerned citizens to “submit a tip”

to report suspected criminal activity. The website tells the public, “If you see something, say

something.”      The FBI website says “We protect the American people and uphold the U.S.

Constitution.”

       91.       The FBI website states that the FBI works a case by world class training, tactics,

science and technology and intelligence.

       92.       The FBI’s guidebook explains tips “must all be taken seriously and thoroughly

evaluated.”

       93.       The FBI received its first tip in 1996 as reported by Maria Farmer of sex abuse of

a minor and did not take the report seriously and did not investigate the report in violation of FBI

protocol. Interestingly, in 1996 Epstein was on probation for a federal crime, yet the FBI hung up

on Ms. Farmer. The FBI continued to receive tips and complaints from 1996 until March 2005,

when the Palm Beach Police Department notified the FBI of child prostitution.

       94.       When the Palm Beach County Police department notified the FBI, they continued

to violate FBI Protocol by delaying the investigation. The FBI received information from the Palm

Beach County Police Department in March 2005 and did not open the investigation until July 24,

2006. The investigation was conducted in a grossly negligent manner and resulted in the ongoing

sexual abuse of many women including some of the Jane Does 1-12 during the investigation. The

investigation was closed on September 18, 2008, after Epstein agreed to give unknown information



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to the FBI according to the FBI vault. He pleaded guilty to a much lesser crime, served minimal

time in jail and then used double jeopardy to continue his sex abuse and trafficking operation.

         95.   The FBI had non-discretionary obligations, governed by established protocols, to

handle and investigate tips concerning potential and ongoing underage child erotica, rape, sex with

minors, and human sex trafficking in a reasonable manner and to act against Epstein and to prevent

him from committing repeated crimes. Yet, contrary to its own established rules, the FBI failed to

take appropriate action and botched and covered up investigations for years. If the FBI had

complied with its mandatory obligations to investigate and intervene, Epstein would not have been

able to continue to commit heinous crimes. The FBI’s repeated and continued failures, delays and

inaction allowed Epstein and others to continue their sex trafficking conspiracy for almost 25

years.

         96.   The FBI was negligent when it did not respond nor appropriately investigate the

allegations, failed to notify the appropriate FBI field office or state or local authorities of the

allegations, and failed to take other steps to mitigate the ongoing threat posed by Epstein and

associates. The inaction of the FBI and their omissions, having been alerted by victims and other

law enforcement agencies of Jeffrey Epstein’s abuse, failed to pursue, delayed, and overall allowed

his abuse and trafficking to continue for over 20 years.

   E. Department of Justice Questioned the handling of the investigation of prosecution of

         Epstein

         97.   After Epstein’s 2008 plea deal, the Office of Professional Responsibility examined

the actions of the Florida federal attorney-prosecutors during that time period between 2006 and

2008. The Office of Professional Responsibility concluded that the victims were not treated with

the forthrightness and sensitivity expected by the Department.



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       98.      In a statement released in 2020, the Justice Department said that when Acosta let

Epstein enter the non-prosecution agreement in 2008 that spared him from federal sex-trafficking

charges, he "failed to make certain that the state of Florida intended to and would notify victims

identified through the federal investigation about the state plea hearing."

       99.      During the probe by the Office of Professional Responsibility, Senator Ben Sasse

of Nebraska stated “letting a well-connected billionaire get away with child rape and international

sex trafficking isn’t poor judgment- its a disgusting failure.”

       100.     During the probe by the Justice Department into the 2006 to 2008 investigation, it

came to light that Epstein judged a beauty pageant in the Virgin Islands seven months before he

signed the non-prosecution deal that shielded him from federal sex crime charges. The FBI

apparently planned to arrest Epstein on or about May 15, 2007, however the Florida prosecutor

was unable to obtain authorization from Acosta for the indictment. Instead, Epstein was arrested

in 2008, another delay which resulted in continued sexual assault of the plaintiffs and other women

and children.

   F. The FBI’s negligence caused and contributed to the ongoing child prostitution and sex

       trafficking

       101.     Epstein could not and would not have sexually trafficked, abused, assaulted, and

battered plaintiffs in New York, Florida, the U.S. Virgin Islands and elsewhere without the

negligence of the FBI. The FBI failed to collaborate with federal, state and local partners and did

not share intelligence nor conduct adequate surveillance. The FBI did not interview victims and

provide victim assistance and concealed reports of a sex trafficking venture. The FBI did not act

on reports of crimes.




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         102.   Epstein could not have sexually trafficked, abused, assaulted, and battered

Plaintiffs without the FBI and its agents, servants and employees’ negligent investigation.


                                     CAUSE OF ACTION

                                  COUNT 1: NEGLIGENCE


         103.   Plaintiffs incorporate by reference the allegations contained in all preceding

paragraphs.

         104.   Duty: The FBI owed a legal duty to the victims, Jane Does 1-12, who were sex

trafficked, raped and sexually abused by Epstein.

         105.   The FBI had a non-discretionary obligation, governed by established protocols, to

handle and investigate tips concerning potential and ongoing underage child erotica, rape, sex with

minors, and human sex trafficking in a reasonable manner and to act against Epstein and to prevent

him from committing repeated crimes. The FBI failed to take appropriate action in light of

complaints made regarding Epstein and subsequently botched and covered up investigations for

years. If the FBI had complied with its mandatory obligations to investigate and intervene based

on the information it was receiving, Epstein would not have been able to continue to commit the

heinous crimes he did against Plaintiffs. The FBI’s repeated and continued failures, delays and

inaction allowed Epstein and others to continue their sex trafficking conspiracy for almost 25

years.

         106.   The FBI made fundamental errors in 1996 and during the 2005 to 2008

investigation. Again, after Epstein served minimal time in jail, the FBI again did not investigate

the tips and reports of sex trafficking of minors, sex abuse and rape which occurred between New

York and U.S. Virgin Islands and several other locations. The inaction of the FBI and their

omissions, having been alerted by victims and other law enforcement agencies of Jeffrey Epstein’s

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abuse, failed to pursue, delayed, and overall allowed his abuse and trafficking to continue for over

20 years.

       107.    Breach:    The FBI failed to exercise reasonable care (a) in complying with

mandatory investigative procedures that the FBI had adopted as the standard of conduct for

handling information; (b) in complying with non-discretionary duties not to falsely assure people

possessing credible information and evidence about ongoing sex trafficking; (c) in performing the

task of investigating complaints and other information regarding Epstein’s abuse of women and

minors; and (d) in the way it handled information regarding Epstein’s abuse of women and minors.

The FBI failed to exercise reasonable care in in the following ways, among other negligent acts

and omissions already known and to be revealed in discovery:


            a. Failing to properly respond to a report received from Maria Farmer in 1996 of sex

               abuse of a minor;

            b. Failing to properly respond to tips and reports regarding sex trafficking of minors

               and young women and sexual abuse of minors and young women from 1996 until

               2005;

            c. Negligently investigating reports of a 14-year-old being sexually abused in

               Epstein’s Palm Beach mansion;

            d. Negligently failing to investigate child sexual abuse material during the 2005 raid

               of Epstein’s Palm Beach mansion;

            e. Negligently failing to interview and assist the victim whose names were on the

               “Important Messages” from 2001 to 2005;




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           f. Negligently permitting Epstein to be a judge at a beauty pageant in the U.S. Virgin

               Islands in 2007 despite impending charges of sex trafficking of minors and sex

               abuse;

           g. Negligently permitting—via the clearing of background checks for passengers on

               Epstein’s private jet—Epstein to sex traffic minors and young women;

           h. Ignoring reports of violence and threats to victims if they cooperated with

               authorities;

           i. Ignoring reports of child sex trafficking; and

           j. Failing to follow up on improper issuing of passports and federal passport fraud.


       108.    Causation: As a direct and proximate cause of the FBI’s negligence, Plaintiffs

would not have been continued to be sex trafficked, abused, raped tortured and threatened. The

FBI’s failure to investigate the tips and information it had received, and failing to follow its

mandatory, established protocols was a direct and substantial cause of the Plaintiffs’ damages.

       109.    Damages: As a direct and proximate case of the Defendant’s negligence, Plaintiffs

were sexually abused, raped, assaulted, tormented, violated, harassed, intimidated, and suffered

permanent injuries, including but not limited to severe emotional and physical pain and suffering,

post-traumatic stress disorder, insomnia, anxiety, shock, fear, nightmares, shame, embarrassment,

loss of enjoyment of life, flashbacks, need for future medical and psychiatric expenses, and other

severe injuries.


                                   REQUEST FOR RELIEF


       110.    Jane Does 1-12 respectfully requests that the Court enter judgment in their favor,

and against the United States, as follows:


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         a. That the Court award Plaintiffs compensatory, consequential, general, and nominal

            damages, as well as all other available damages, against Defendant in an amount to

            be determined at trial;

         b. That the Court award to Plaintiffs the costs and disbursements of the action, along

            with reasonable attorneys’ fees, costs, and expenses;

         c. That the Court award pre- and post-judgment interest at the maximum legal rate;

            and;

         d. That the Court grant all such other and further relief as it deems just and proper.

Date: February 14, 2024
      New York, New York

                                           By:     ___________
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